
COPE, J.,
(concurring).
I concur in affirming the denial of the appellant’s motion to correct illegal sentence under Florida Rule of Criminal Procedure 3.800(a) because the issue the appellant raises on appeal is completely different from the issue the appellant raised in his motion dated September 3, 2009. The trial court erred in denying the motion as being “successive,” because as the Florida Supreme Court has explained, there is no “successiveness” bar in rule 3.800(a). State v. McBride, 848 So.2d 287, 290 (Fla.2003). Instead, the question is whether the same claim has previously been raised and decided. Id. The trial court’s erroneous statement *942about “successiveness” is, however, harmless under the circumstances of this case.
